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                                 CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS
          ro.u.$*
          ;d' NUMBER: 2018-10864
                                                   STATE OF LOUISIANA

                                                                                 DIVISION: A-16

                                                          JOHN DOE

                                                           VERSUS

                             THE ROMAN CATHOLIC CHURCH OF THE ARCHDIOCESE OF
                                 NEW ORLEANS, AND DEACON GEORGE BRIGNAC


             FILED:                                 DEPUTYCLERK:


                                                         JUDGMENT

                        The Defendants Motion for P¡otectve Order was heard on July 25,2019.

                    Present:

                    fuchard C. Trahant and John H. Denenea, Jr. attorneys for plaintiff, John Doe; anå

                    Dwight C. Paulsen, III, David Adams, and Richard Bordelon, attomeys for Defendant,
                    Roman Catholic Church of the Archdiocese of New Orleans.


                    Considering the Motion, the law, and argument of counsel,

                    IT IS HEREBY        ORDERED, ADJTIDGED AND DECREED T}IAT thE MOIiON

             Protective Order is continued without      date;                                                         i




                    IT IS F{IRTHER ORDERED TI{AT the Court will select and appoint a Special Maste'r

            pursuant to LSA-R.s. L3:4765, to handle the discovery matters as               wiil be specifieo in å
             separate   }tclef    to be issued by Friday, August 2, 2019, andthat the parties         will   have untiT
                                                                                                                          :

            Friday, August 9,2019 to file objections to the       (9lder    appointing the Special Master.

                   Thus, done and signed, this             day    of         3                  Orleans, Louisiana.

                                                  --,
                                                                                                      DIV A
                                                                                                                  i
                                                                                                                  i
                                                                         (Ssd.) ELLEN M.                      ;


                                                                         Judge - Division "A'                 i




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                                           -AND-

                                           COLVINLAWFIRM
                                           BENJ.AMIN T. SINOE¡S (#s0842)
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                                 CIVIL DISTRTCT COURT FOR TIIE PARTSII OF
                                                        STATE OFLOUISTÄNA
                                                                                             7üt9 flür,        l2            8,54
              NO.:     2018-10864                               DWISION TA"                                                         -16

                                                                 JOHNDOE                         ;.li¡ ì;,;u    I         .L liT
                                                                  VERSUS

                                            TIIE ROMAN CATHOLIC CHURCH OF
                                       TIIEARCHDIOCESE OFNEW ORLEANS, ET AL.


                                                                                     DEPUTYCLERK



                                       ORDER APPOINTING SPECIAL MASTER


                       Having previously notified the parties on July 25,2019 that the legal                               fach¡al issuès

             presented in this case are complex, require an inordinate amount              ofattention                    oversight from

             the Court which goes beyond the Cow's limited resources, and that                                            crcumstances

             war¡ant an appointment of a special Master pursuant to La. R.s. 13:4165 and the
                                                                                                                                 inherent
            judicial power to facilitare an orderly and efñcient disposition
                                                                             oftlis litigation:
                      IT IS IIEREBY ORDERED rhar Hon. Caroþ W. Jefferson,                            201 St.                     Avenue,

             suite 3800, New orleans, Louisiana 70170, e-mail: cjefferson@aarongianna.com                            telephone (504)

            569-1 810' be and is hereby appointed as a special Maste¡ in accordance               with La.                 13:4165. The

            court has carefirlly considered the faimess ofimposing the likely expenses on                             parties and has

            concluded that appointing          a special     Master   wili materially    advance the                             of   this
            litigation in an efücient m¿ìnner.

                1.    DUTIES AND POWERS.

                      The Special Master shall have the power to resolve any and all
                                                                                                                                matters,

            including but not limited to: motions to compel discovery responses, motions for
                                                                                                                                 orders,

           motions to compel depositions, motions to compel compliance with subpoenas,
                                                                                                                                to quash
           subpoenas, motions          for   issuance   of   letters rogatory,   in camera inspection of                   purponedly

           confidential and privileged documents, and issuance of Scheduling orders.
                                                                                                                           the Special
           Master shall have        all of the powers permitted by La. R.S. 13:4165, shall                                her'power ¡to

           regulate   al1   proceedings properly brought before her, and is empowered to do all
                                                                                                                           and take aii

           measures necessaxy or proper for the efñcient performance             ofher duties.

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                       Ali   status conferences pertinent   to the aforementioned issues shall be               before the

              Special Master with advance notice to alt parties. The Special Master shall have             discretion to

             schedule status conferences in person or via telephone, depending-inter                     the wgency            of
             the matter and availability of counsel. Moreover, the Special Master shall                   the discretiqn

             whether or not to hold oral argument on any discovery motion that may be filed.            nless otherwise

             specified herein, all hearings and status conferences brought before the Speoial                   in this   case

             shall be tanscribed, and the cost ofsuch transcription shall be divided equally               the parties.

                 2.   PROCEDURÀLMATTERS.

                      The parties shall bring the discovery disputes that arise between them                the Special

             Master by filing iheir discovery pleadings, motions, memoranda, and associated                         and by

             serving them by eiectronic mail upon counsel for alt parties and upon the Special                     A party

             against whom a discovery motion is filed shall have fiñeen (15) days after the                is served via

             electonic mail to file and serve an opposition thereto. Thereafter, the moving             shall have five

             (5) days from having been served wíth the opposition to file and serve a reply                      Any      suöh

            motion, opposition, or reply shall be filed with the Clerk of Cou¡t, including any
                                                                                                                            of
            law and exhibits.

                      Any party has the right to request the Special Maser for a determination         their motion on

            an expedited basis by providing a good cause for such request.               If   the       Master grants

            expedited consideration, any opposition and/or repiy memorandum shall be filed               served within

            the deadlines set by the Special Master.

                    Ifthe disposition ofthe parties' motions shall      be after a contradictory           the Special

            Master shall schedule the hearing with advance notice to all parties of the date               Regardless

            of whether or not an oral argument was held, the special Master shall prepare              report upon the

           matters submitted to her and,    if in the course of her duties   she is required to make            offact or

           conclusions    oflaw, the special Master shall include such findings offact and                      oI iaw ln

           her report. In acco¡dance with La. R.s. 13;4165, all such reports shall be filed              the Clerk lof

           court and notice ofsuch filing shall be served upon all parties via electronic mai1.

                    Any party that disagrees with the Special Master,s report regarding a                   ;
                                                                                                            ISSUe    mâv

           seek a review thereof by the     court by filing written objections thereto within          (10) days afier

           beíng served with the notice   offiling ofthe report. objections shall be specific                             by


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             a memorandum desoibing the legal and factu¿l basis for the objection.            If   a        so objects, the

             Court may-after a contadictory hearing-adopt the Special Maste¡'s report in                        or in part,

             modiff it, reject it in whole or in part, receive fi¡rthe¡ evidence, or recommit it            instructions.    If
             no party files a timely objection to the Special Master's report, the Court shall               the report as

             submitted, unless to do so would be clearly erïoneous.

                  3.   OUTSTANDINGISSUES.

                       The parties shall each provide to the Special Master a copy of their                         ûlings in

             connection      with the A¡chdiocese's June 20, 2Al9 Motion         þr   Entry of                 Order and

            Motíon to Stay the Return Date on Plaíntiff's Notices/Subpoenas Duces                                   and any

            memo¡anda        filed on that issue for determination. With respect thereto,          the                  shall

            produce all purportedly confidential documents responsive to the piaintifps two                           fo¡ an

            in camerø inspection by the Special Master. With them, the Archdiocese shall also produce.a

            comprehensive privilege       log written using Times New Roman font,             size             (12), wiih

            detailed descrþion      of the documents, classifring the documents in         separate                   bateS-

            labeling the pages within the categories, dating the documents, and                           respect to eadh

            document-its objections, the grciunds for its objections, and the applicable                     authority in

            support thereof,    if any. The Archdiocese      has   thirty (30) days to do so from the                of this

            Order.

                      Further, counsel for the parties shall confer with the Special Master as              is practicable

            to formulate a Scheduling Order and select discovery deadiines.

                      All future discovery   disputes arc to be submitted to the Special Master            to submission

           ûo   the Court.

                 4.   COMPENSATION.

                      The Special Master shall be compensated at a rate of tluee hundred                   ($300.00) per

           hour for her services, billing in the i/10û hour increments. The Special                       shall have the

           discretion to hi¡e a supporting staff member to assist her in performance of her                   such as an

           associate attomey, aparalegal, or a legal assistant. However, compensation for                and all servicþs

           carried out by the Special Master's support personnel shali not be paid by the                     but by the
                                                                                                                         ;

           Special Master herself     If the   Special Master decides to hire a supporting staff              such stdff

           member shall be bound by all of the provisions of this Order. The Special                          l-r
                                                                                                         s compensatlon


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             shall be taxed as costs ofcourt and shall be funded equally from the parties to this

                      The Special Master shall be paid ûom a fund held in the registry of the                       (hereinafter,

             "the Fund'). The Special Master shall creare, keep, and regularly update billing                           of her time

             spent on this matter,         with reasonably detaited descriptions of her activities and                        worked

             upon as a Special Master in these proceedings. From time to time, on                                       a,monthly

             basis, the Special Master shail submit her Itemized Statement of Fees and                            to counsel for

             ail parties ærd the Court for approval, which the Court will inspect carefully                      regularity and

             reasonableness,       If    no parry files an objection thereto and the bill is approved            the Court" the

             Special Master       will   be paid ûom the Fund upon the Special Master's motion.

                      ln the first instance, the Fund shall be subsidized by ail parties                         three ithousand

            dollars ($3,000.00) into the registry of the Court within thirty (30) days ûom rhe                                of this

            O¡der. A party whose involvement in this case           will not necessitate the Special                serutces, âs

            delineated supra, may be discharged ûom the obligation to deposit its share into                     registry ofthe

            Court,   as   well   as any   additional ñmds as discussed infra.Howeve4once that                   invoivement in

            these proceedings mandates intervention by the speciat Master, the             court shall

            being notified by the other parties and/or by the special Master---¡rder the party                    discharged to

            deposit its share into the Fund. In the event a party is dismissed ûom the litigation                       the   initial
            fi-ding is depleted, its unspent         share of the deposit   will   be retumed to   it   upon    motion. In the

            event the special Master completes her duties before the initial funding is                            the parties'

           respective unspent share           of the deposit will be ¡etumed to them upon their                         Upon the
           request by either ofthe parties and/or by the special Master, any fi.rther allocation
                                                                                                                              of the

           Fund for payment         ofthe special Master's services shall require the approval by              Court.   If a party
           objects to the proposed allocation of fi.rther frrnding of the special Master, the
                                                                                                                  shall decide

           the issue in the most equitable and fair fashion possible under the circumstances.

               5.    COMMUNICATIONS.

                     Communications and submissions            to and ûom the Special Master                   be by way iof
           electronic mail with all counsel ofrecord copied. submissions to the special
                                                                                                                  that are too

           Iarge for harsmission via electronic mail shall be by other electronic means (such
                                                                                                               Dropbox or an

           FTP SitÐ, comme¡cial carrier, or hand delivery, with a copy.of the nansmittal
                                                                                                                    Ietter sent

           contemporaneously therewith to all counsel. In such an event. the date             ofthe             or transmitfal


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             letter shali be deemed the date of transmission for the purpose of determining any

                      The Special Maste¡ shall not engage in   ex   parte communications with any             the parties or

             with the Court. However, when oircumstances so require,       ex   parte                        are aúthorized

             for scheduling, administuative purposes, emergencies that do not deal with                          niatters or

             issues on the merits (provided the Speciat Master reasonably beiieves that no                     will       gain ä

             procedural    or strategic advantage as a result thereof), and to the extent              the               Maste¡

             determines    #   parte communication is necessary to maintain the                              of privileged
            communications (for instance, in conducting in camera review). Additionally, the                             Maste.r

            may also communicate ex parte with the Court, without providing notice to the                        regarding

            logistical matters, the nature of her activities, management of the litigation, and                appropriatp

            procedural matters. The Court     will aim to protect    the parties against                      expénse and
                                                                                                                                         i
            delay through communication with them and the Special Master, as appropriate.

                     The Special Maste¡ shall proceed in the undertaking of her duties and

            reasonable diligence and shall not discws any aspect      ofthis Iitigation with any

            statements, hold or partake in any press conferences, and so on.

                6.   MISCELLANEOUS.

                     The Special Master is subject to the same conflicts of interest and                         standards

            as of that of a district court judge under La" C.C.P. A¡ticle                   l5l    and           3(C) of
           the Code ofJudicial Conduct. The Special Master shall schedule               a   status               with all
           parties within fifteen (15) days from issuance     ofthis O¡derto discuss         any              conflicts cif
                                                                                                                                     i
           intErest and make any necessary disclosures,      if   applicable. This status                    shall not be
                                                                                                                                 I
           transcribed or charged to the parties,

                     The Special Master shall have the fulI cooperation of the parties and                               As ah
                                                                                                                                 !



           ofFrcer of the Court, the Special Master shall eqioy the same protections from                    comþelled to
                                                                                                                                 I
           give testimony and from liability for damages as those enjoyed by other                               adjuncts

           performing similar functions. The parties will make readily available to the                       Mçster any

           and all facilities, files, databases, and documents which are necessary to
                                                                                                                rl
                                                                                                              the Snecià

           Maste¡'s duties under this Orde¡. In the exercise ofher discretion, and by                         good causL
                                                                                                                tl
           therefor, the Special Master may request from the Court that some parfs                of   the       be filed    I




           under seal. The Special Master shall preserve records relating to her work as                     Master until


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               relieved ofthis obiigation by order ofthe Court.

                       Once appointed, the Special Master shall not be terminated until he¡ duties        completed or

               the Couxt terminates the appointment, whichever comes first.
                                                                                                                I

                       Nothing herein shail act or be interpreted to preclude any party from              anyimeeting

               conference, or argument on any motion brought before the Speciai Master.

                      Nothing herein otherwise limits the powers of the Court regarding special                under La.

               R.S. 13:4165 or otherwise impacts the inherent powers of the Court. The Cou¡t                  amend this

               Order at any time after notice to the parfies and an opportunity to be heard.

                      Any objections to this Order shall be filed in writing within seven (7)            of issuance of

               this Order, but in any event no late¡ than Friday, August 9, 2019.




                      REA-D, RENDERED, AND SIGNED                    in New Orieans, Louisiana,               2nd day   öf
               August,2019.




                                                                             M.
                                                                Judge, Civil Distict
                                                                Parish of Orieans, Division'?-t6"

               SERVED via Electronic Mail
            and Orleans Sheriffls Department ONLY:

            John H. Denenea                                            Dwight C. Paulsen
           Attorneyþr Plaintiff:                                       Attorney for Defendant, The
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                                                                      A tt or ney
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           rbordelon@de-nechaudlaw. com                               rbullock@bullockham,com

                                                                      Hon.   Caroþ      W. Jefferson
                                                                      201 St. Charles Avenue,          3800
                                                                      New Orleans, Louisiana 701


           Doe v. The RCC, et al.
           20t8-10864
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                                                                                           tl
                    relieved ofthis obligation by order ofthe Court.

                             Once appointed, the Special Master shall not be termi¡ated until her duties      completed or

                    the Court terminates the appoinûnent, whichever cornes first.

                             Nothing herein shall act or be interpreted to preclude any party from                any

                    conference, or arguítent on any motion brought before the Special Master.

                             Nothing herein otherwise limits the powers of the Court regarding special              under La.

                   R.S. 13:4165 or otherwise ìmpacts the inherent powers of the Court. The Court                   amend this

                   O¡der at any time after notice to the parties and an opportunify to be heard.

                             Any objections to this Order shatl be filed in writing within seven (7)         of issua¡rce of

                   this Order, but in any event no late¡ than Friday, August g,Z01g_




                             READ, RENDERED, AND SIGNED in New Orleans, Louisiana,                                2nd day   of
                   August,       9.
                                                ,20l-q--
           Received

                                                           Pc-
            Roceipt No                                                         M.
                                                                   Judge, Civil Dishict
                                                                   Parish of Orleans, Division "A-16,,

                   SERVED via Electronic Mail
                   and Orleans Sheriffls Department        ONLy:

               John H. Denenea                                            Dwight C. Paulsen
               Attorneyþr Plaintiff                                       A norney þr Defendant, The
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                                                                         Hon. Carolyn W. Jeflerson
                                                                         201 St. Charles Avenue,           3800
                                                                         New Orleans, Louisiana 701




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